     Case 3:21-cv-02722-MCR-HTC Document 15 Filed 11/29/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION
STATE OF FLORIDA,
v.                                         CASE NO. 3:21-cv-2722-MCR-HTC
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.


                            REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on        November 29, 2021

Motion/Pleadings: JOINT MOTION TO VACATE FURTHER BRIEFING AND
                  HEARING ON PRELIMINARY INJUNCTION
Filed by Plaintiff & Defendants on November 28, 2021             Doc. # 14
        Stipulated      X       Joint Pleading

                                       JESSICA J. LYUBLANOVITS
                                       CLERK OF COURT
                                       /s/ Patricia G. Romero
                                       Deputy Clerk:      Patricia G. Romero


      On consideration, the motion is GRANTED. The Court’s order, ECF No. 13,

is PARTIALLY VACATED insofar as it sua sponte reinstated the State of

Florida’s Motion for Preliminary Injunction, required further briefing on the motion,

and scheduled an evidentiary hearing. The hearing scheduled for December 1, 2021,

is CANCELLED at the parties’ joint request. Insofar as the order, ECF No. 13,

denied the request for a preliminary injunction pending appeal, the order is
     Case 3:21-cv-02722-MCR-HTC Document 15 Filed 11/29/21 Page 2 of 2




unchanged. A supplemental order will be entered to set out the Court’s reasoning

with respect to the recently enacted Florida law.

      DONE and ORDERED this 29th day of November 2021.




                                       M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
